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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                              ABINGDON

 UNITED STATES OF AMERICA                  )
                                           )
       v.                                  )
                                           )         Case No. 1:19cr00016
 INDIVIOR INC. (a/k/a Reckitt              )
 Benckiser Pharmaceuticals Inc.) and       )
 INDIVIOR PLC,                             )
   Defendants                              )

                                     ORDER

       Upon motion of the United States, based on the record herein and for good

 cause shown, it is hereby ORDERED that the United States’ Application for a Post-

 Indictment Protective Order, and proposed First Protective Order, are SEALED.

 The Government shall file redacted versions of these documents on the public

 docket.

       ENTERED:          January 30, 2020.

                                      s/   Pamela Meade Sargent
                                      UNITED STATES MAGISTRATE JUDGE
